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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      )
GINA MARIE FALCO, individually, and on                )
behalf of all others similarly situated,              ) Civil Action No.
                                                      )
       Plaintiff,                                     )
                                                      ) COMPLAINT – CLASS ACTION
 v.                                                   )
                                                      )
CHERRY HILL MITSUBISHI, INC.                          )
                                                      )
       Defendant.                                     )
                                                      )



       Plaintiff Gina Marie Falco (“Plaintiff”), on behalf of herself and all other similarly situated

individuals alleges the following claims against Defendant Cherry Hill Mitsubishi, Inc. (“CHM”),

for violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA”).


                                U   PRELIMINARY STATEMENT

       1.      This class action seeks remedies under the FCRA against CHM on behalf of

consumers whose credit reports were procured by CHM without a permissible purpose or consent.

CHM consciously engaged in this conduct as a matter of practice to surreptitiously obtain

consumer’s credit reports without their knowledge resulting in an invasion of privacy to consumers

and harm to their credit reputation and scores.

                                             U   THE PARTIES

       2.      Plaintiff is an adult individual residing in Philadelphia, Pennsylvania.

       3.      Defendant CHM is a New Jersey corporation with its principal place of business in

Marlton, New Jersey.
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                                             U   JURISDICTION & VENUE

        4.          This Court possesses federal question jurisdiction pursuant to 28 U.S.C. §1331 as

this matter is an action arising under the laws of the United States.

        5.          Venue is proper in this district pursuant to 28 U.S.C. §1391(b)(1) & (2) because a

substantial part of the events or omissions giving rise to this action occurred in the Eastern District

of Pennsylvania, and Defendant possess sufficient contacts with this District to be deemed to reside

in this District.

                                         U   FACTUAL ALLEGATIONS

        6.          In or around May 30, 2020, Plaintiff contacted CHM to inquire about purchasing a

new vehicle.

        7.          Plaintiff specifically expressed to the CHM’s representative that she did not want

her credit report accessed or credit score affected.

        8.          Upon information and belief, CHM as a matter of practice misrepresents to

consumers that their credit report will not be accessed, and credit score will not otherwise be

affected, by falsely representing to the consumer that they are performing a “soft inquiry.”

        9.          Notwithstanding the above, Plaintiff was then shocked to learn that, on or about

June 9, 2020, CHM had initiated an inquiry to access her Trans Union credit report without her

consent or knowledge which caused her credit score to drop.

        10.         CHM falsely certified that it was inquiring into Plaintiff’s credit report for an

extension of credit when no such permissible purpose existed, and Plaintiff had not otherwise

consented to the review of her credit report.

        11.         CHM as such had no lawful purpose for accessing Plaintiff’s consumer report.




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        12.       CHM’s actions resulted in a severe invasion of Plaintiff’s privacy and caused harm

to Plaintiff’s credit reputation and score.

        13.       CHM routinely and systematically obtains credit reports of consumers with no

permissible purpose or written consent, resulting in unlawful credit inquiries on these consumers’

credit reports.

        14.       At all times pertinent hereto, CHM was acting by and through its affiliates,

subsidiaries, agents, servants and/or employees who were acting within the course and scope of

their agency or employment, and under the direct supervision and control of CHM.

        15.       At all times pertinent hereto, the conduct of CHM, as well as that of its affiliates,

subsidiaries, agents, servants and/or employees, was intentional, willful, reckless, and in grossly

negligent disregard of the FCRA and the rights of Plaintiff.

        16.       As a result of CHM’s conduct, Plaintiff and members of the Putative Class have

suffered concrete injuries including but not limited to: invasion of privacy, informational injuries,

and harm to credit reputation and score, increased risk of identity theft, and consequential anxiety

and emotional distress.

                                 CLASS ACTION ALLEGATIONS

        17.       Pursuant to FED. R. CIV. P. 23, Plaintiff brings this action on behalf of the Class

initially defined below:

                  All natural persons residing in the United States, whose consumer
                  reports displays an inquiry by CHM for which CHM does not
                  possess a written authorization or recording obtaining consent to
                  request the consumer’s credit report in the previous five years.

        18.       Excluded from the class are CHM and any entities in which CHM has a controlling

interest, CHM’s agents and employees, the Judge to whom this action is assigned and any member

of the Judge’s staff and immediate family.

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       19.     Plaintiff reserves the right to amend the definition of the Class based on discovery

or legal developments.

       20.     Numerosity.     The members of the Putative Class are so numerous that the

individual joinder of all of its members is impracticable. Upon information and belief, CHM has

performed hundreds or thousands of impermissible inquiries of consumers’ credit reports each

year, and those persons’ names and addresses are identifiable through documents maintained by

CHM. While the exact number and identities of the members of the Putative Class are unknown

to Plaintiff at this time, this information can be ascertained through appropriate discovery.

       21.       Commonality. Common questions of law and fact exist as to all members of the

Putative Class and predominate over any questions solely affecting individual members of the

Putative Class, including but not limited to: whether CHM obtained consumer reports without a

permissible purpose in violation of the FCRA and whether CHM acted willfully or negligently in

disregard of the rights of consumers.

       22.     Typicality. Plaintiff’s claims are typical of the claims of each Class member.

Plaintiff has the same or similar claims for statutory and punitive damages that she seeks for absent

class members.

       23.     Adequacy. Plaintiff is an adequate representative of the Putative Class. Plaintiff’s

interests are aligned with and are not antagonistic to the interests of the members of the Putative

Class. Plaintiff has retained competent and experienced counsel in such litigation, and she intends

to prosecute this action vigorously. Plaintiff and her counsel will fairly and adequately protect the

interests of members of the Class.

       24.     Predominance & Superiority. Questions of law and fact common to the Class

members predominate over questions affecting only individual members, and a class action is



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superior to other available methods for fair and efficient adjudication of the controversy. The

statutory and punitive damages sought by each member are such that individual prosecution would

prove burdensome and expensive given the complex and extensive litigation necessitated by

CHM’s conduct. Even if the members of the Class themselves could afford such individual

litigation, it would be an unnecessary burden on the courts. Furthermore, individualized litigation

presents a potential for inconsistent or contradictory judgments and increases the delay and

expense to all parties and to the court system presented by the complex legal and factual issues

raised by the CHM’s conduct. By contrast, the class action device will result in substantial benefits

to the litigants and the Court by allowing the Court to resolve numerous individual claims based

upon a single set of proofs in a unified proceeding.

                                   COUNT I – CLASS CLAIM
                                  VIOLATIONS OF THE FCRA

          25.     Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

herein.

          26.     CHM’s conduct occurring on June 9, 2020 as described above violates 15 U.S.C. §

1681b(f) by obtaining a consumer report knowingly and recklessly without a permissible purpose

and without authorization from Plaintiff and the Class members.

          27.     The foregoing violations were willful. CHM knew or should have known that it

was not authorized to request Plaintiff’s and the Class members’ credit reports and acted in

deliberate or reckless disregard of its obligations and the rights of Plaintiff and other Class

members.

          28.     Plaintiff and the Class are entitled to statutory damages pursuant to 15 U.S.C. §

168ln(a)(l)(A).




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       29.    Plaintiff and the Class are entitled to punitive damages for these violations pursuant

to 15 U.S.C. § 1681n(a)(2).

       30.    Plaintiff and the Class are further entitled to recover their costs and attorney’s fees,

pursuant to 15 U.S.C. § 1681n(a)(3).

       31.    Alternatively, CHM’s violations were negligent, and Plaintiff seeks issue

certification based on CHM’s negligence under Fed. R. Civ. P. 23(c)(4).

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the Putative Class, prays for relief as

follows:

                A.     An order certifying the proposed class as to Count I herein pursuant to
                       Fed. R. Civ. P. 23 and appointing the undersigned as class counsel;

                B.     Judgment against CHM as to Count I for statutory and punitive damages
                       pursuant to 15 U.S.C. § 1681n;

                C.     Alternatively, in accordance with Fed. R. Civ. P. 23(c)(4), an order
                       certifying the Class as to Count I on the issue that CHM’s conduct was
                       negligent pursuant to 15 U.S.C. § 1681o;

                D.     Attorneys’ fees, expenses and costs; and

                E.     Such other relief as may be just and proper.




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                                        JURY DEMAND

      Plaintiff hereby demands a trial by jury as to all issues so triable.



                                             Respectfully Submitted,

                                             GORSKI LAW, PLLC



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Dated: November 13, 2020




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